SO ORDERED.
SIGNED November 2, 2020.




                                               ________________________________________
                                               JOHN W. KOLWE
                                               UNITED STATES BANKRUPTCY JUDGE



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION


IN RE:                                                      CASE NO. 20-50775

WISCONSIN APPLE LLC
     DEBTOR1
                                                            CHAPTER 11

                                                            JUDGE JOHN W. KOLWE

               ORDER GRANTING MOTION FOR EXPEDITED CONSIDERATION
                  VOLUNTARY MOTION TO DISMISS CHAPTER 11 CASE


          Considering the Motion for Expedited Consideration (“Motion”), and it appearing good

cause exists to grant same; it is

          ORDERED that the Motion, be and hereby is GRANTED; it is further

          ORDERED that a hearing on the Voluntary Motion to Dismiss Chapter 11 Case (the

“Motion to Dismiss”) [Dkt. # 45] will be held telephonically with the Chief Judge John W.

Kolwe, on November 17, 2020 at 10:00 a.m. and

1
    3909 Ambassador Caffery Parkway, Lafayette, LA 70503. EIN xx-xx3622.


{00374466-1}


     20-50775 - #46 File 11/02/20 Enter 11/02/20 14:18:29 Main Document Pg 1 of 2
         Take Further Notice that due to the General Order 2020-3, Order Establishing

Protocols for Court Operations During the Covid-19 Public Health Emergency, the hearing on

this matter will be conducted telephonically and the dial-in instructions are as follows:


1. https://teleconference.uc.att.com/ecm/
2. Login as Guest
3. Put in Dial-in #: 877-411-9748
4. Enter access code 2239270
5. Follow instructions and continue
***Please make sure to enter the third set of numbers on the screen once you have joined the
call.
6. If you are asked for a security code, please use 5722



                                      ### End of Order ###




Prepared and submitted by:

Douglas S. Draper, La Bar No. 5073
Leslie A. Collins, La Bar No. 14891
Greta M. Brouphy, La Bar No. 26216
Heller, Draper, Patrick, Horn & Manthey, L.L.C.
650 Poydras Street, Suite 2500
New Orleans, LA 70130-6103
Office: 504 299-3300/Fax: 504 299-3399
E-mail: ddraper@hellerdraper.com
E-mail: lcollins@hellerdraper.com
E-mail: gbrouphy@hellerdraper.com
Attorneys for the Debtor




{00374466-1}


   20-50775 - #46 File 11/02/20 Enter 11/02/20 14:18:29 Main Document Pg 2 of 2
